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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

F'REAL FOODS, LLC and RICH
PRODUCTS CORPORATION,


                           Plaintiffs,
                                                Civil Action No. 16-41-CFC
                    V.

HAMIL TON BEACH BRANDS,
INC. and HERSHEY CREAMERY
COMPANY,


                           Defendants.



                            MEMORANDUM ORDER

      On July 16, 2020, I issued an Order granting in part and denying in part

Plaintiffs' Motion for Supplemental Damages, Accounting, Pre-Judgment Interest,

and Post-Judgment Interest (D.I. 303). See D.I. 378. In that order, I requested that

Plaintiffs submit a revised supplemental damages calculation that reflected the

Court's remittitur. Id. at 3. Plaintiffs have done so, see D.I. 382, and Defendants

have submitted a competing supplemental damages calculation, see D.I. 385.

      The parties' dispute is over the proper "adjustment ratio" to apply to the

supplemental lost-profits calculation. The parties agree that the jury discounted the

Plaintiffs' lost profits calculation at trial. See D.I. 382; D.I. 385. The parties also
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agree that a discount should be applied to Plaintiffs' post-trial lost profits

calculation. See D.I. 382; D.I. 385. The parties, however, disagree about how to

calculate the adjustment ratio used in that discount.

       Plaintiffs argue that the jury awarded them 76.39% of the lost profits that

Plaintiffs' damages expert testified they were owed and, therefore, I should adopt

76.39% as the adjustment ratio used to calculate post-trial lost profits. See D.I. 382

at 1-2. Defendants argue that because of the Court's remittitur, 76.39% is not the

correct adjustment ratio, and instead the adjustment ratio should reflect only the

lost profits that were upheld rather than the lost profits the jury awarded. See D.I.

385 at 2-3. In other words, in Defendants' view, the adjustment ratio should be

the lost profits awarded minus the remittitur divided by the lost profits requested

minus the remittitur. Id. That adjustment ratio is 69.37%. Id.

       Neither paiiy has cited any law in support of its position. Thus, I am

painting on a blank canvas. With that in mind, Defendants' position makes sense

to me, and I will adopt it. I see no reason why the p01iion of the lost profits award

that was not supp01ied by any evidence should factor into the proper adjustment

ratio for post-trial lost profits.

       Plaintiffs argue that "[b]ecause Hershey Creamery switched nearly all

customers to the upcharge program by April 2019" the adjustment ratio for post-

trial lost profits should "not [be] affected by the remittitur." D.I. 3 82 at 3. But this


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argument is backwards. At trial Plaintiffs' lost profits calculation was based in

part on lost rentals and in part on lost sales of upcharged cups of ice cream. My

remittitur order held that "the portion of the damages award attributable to lost

rentals is clearly not supported by the evidence" and ordered a remittitur for the

amount of rental lost profits calculated by Plaintiffs' damages expert. D.I. 366 at

9-10. Plaintiffs' method of calculating the adjustment ratio incorporates lost

profits due to lost rentals. But lost rentals should have no bearing on the damages

calculation now that Defendants have switched to the upcharge program.

Accordingly, I will reject Plaintiffs' supplemental damages calculation and adopt

Defendants' supplemental damages calculation.

      WHEREFORE, in Wilmington on this Fourteenth day of August 2020, IT IS

HEREBY ORDERED that the award of damages in the Judgment (D.I. 286) is

amended as follows:

   1. Judgment is entered in favor of Plaintiffs and against Defendants for

      damages and interest in the amount of $3,066,724 for Defendants'

      infringement of the #150, #658, and #662 patents through July 31, 2020; and

   2. Interest shall accrue at a rate of $145.93 per day from August 1, 2020, until

      Defendants satisfy the judgment.




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